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                              UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

                                                                )
    In re:                                                      ) Chapter 11
                                                                )
    KATERRA INC., et al., 1                                     ) Case No. 21-31861 (DRJ)
                                                                )
                            Debtors.                            ) (Jointly Administered)
                                                                )


                                       AFFIDAVIT OF SERVICE

        I, Shunte Jones, depose and say that I am employed by Prime Clerk LLC (“Prime Clerk”),
the claims, noticing and solicitation agent for the Debtors in the above-captioned chapter 11 cases.

        On December 3, 2021, at my direction and under my supervision, employees of Prime
Clerk caused the following documents to be served by the method set forth on the Master Service
List attached hereto as Exhibit A:

      •      Final Fee Application of FTI Consulting, Inc. for Compensation for Services and
             Reimbursement of Expenses as Financial Advisor to the Official Committee of Unsecured
             Creditors for the Period from June 25,2021 through October 29, 2021 [Docket No. 1522]

      •      First and Final Fee Application of Houlihan Lokey Capital, Inc., Financial Advisor and
             Investment Banker for the Debtors and Debtors in Possession, for the Fee Period from June
             6, 2021 through and Including October 29, 2021 [Docket No. 1524] (the “HLC Inc Fee
             App”)


       On December 3, 2021, at my direction and under my supervision, employees of Prime
Clerk caused the HLC Inc Fee App and the following documents to be served via email on the
Fee Application Service List attached hereto as Exhibit B:

      •      Second Interim and Final Fee Application of Alvarez & Marsal North America, LLC as
             Restructuring Advisors for the Debtors and Debtors in Possession for the Period from June
             6, 2021 through and Including October 21, 2021 [Docket No. 1527]




1
 A complete list of each of the Wind-Down Debtors in these chapter 11 cases may be obtained on the website of the
Wind-Down Debtors’ claims and noticing agent at https://cases.primeclerk.com/katerra. The Wind-Down Debtors’
service address in these chapter 11 cases is 3101 N. Central Ave., Suite 670, Phoenix, Arizona 85012.
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   •    Second Interim and Final Fee Application of Kirkland & Ellis LLP and Kirkland & Ellis
        International LLP, Attorneys for the Debtors and Debtors in Possession, for the (I) Interim
        Fee Period from September 1, 2021 through and Including October 21, 2021, and the (II)
        Final Fee Period from June 6, 2021 through and Including October 21, 2021 [Docket No.
        1528]

       On December 5, 2021, at my direction and under my supervision, employees of Prime
Clerk caused the following documents to be served via email on the Fee Application Service List
attached hereto as Exhibit B:

   •    Second Interim and Final Fee Application of Fox Rothchild LLP as Counsel to the Official
        Committee of Unsecured Creditors of Katerra, Inc., et al., for (I) the Second Interim Period
        from September 1, 2021 through and including October 29, 2021 and (II) the Final Period
        from June 23, 2021 through and including October 29, 2021 [Docket No. 1525]



Dated: December 13, 2021
                                                                     /s/ Shunte Jones
                                                                     Shunte Jones
State of New York
County of New York

Subscribed and sworn (or affirmed) to me on December 13, 2021, by Shunte Jones, proved to me
on the bases of satisfactory evidence to be the person who executed this affidavit.

/s/ PAUL PULLO
Notary Public, State of New York
No. 01PU6231078
Qualified in Nassau County
Commission Expires November 15, 2022




                                                  2                               SRF 58415
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                               Exhibit A
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                                                                                                          Exhibit A
                                                                                                       Master Service List
                                                                                                    Served as set forth below

                                   DESCRIPTION                                NAME                                         ADDRESS                                          EMAIL           METHOD OF SERVICE
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                                                                                                 ONE ATLANTIC CENTER                                      JONATHAN.EDWARDS@ALSTON.COM
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SERVICES, LLC                                                 ALSTON & BIRD LLP                  ATLANTA GA 30309                                         JACOB.JOHNSON@ALSTON.COM        Email
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COUNSEL TO AMEX TRS CO., INC.                                 BECKET & LEE LLP                   MALVERN PA 19355-0701                                                                    First Class Mail
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         Case No. 21-31861 (DRJ)                                                                          Page 1 of 17
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                                                                                                            Exhibit A
                                                                                                         Master Service List
                                                                                                      Served as set forth below

                                   DESCRIPTION                                     NAME                                         ADDRESS                                       EMAIL                METHOD OF SERVICE
                                                                                                      ATTN: JARROD B. MARTIN
                                                                                                      1200 SMITH STREET
                                                                  CHAMBERLAIN, HRDLICKA, WHITE,       SUITE 1400
COUNSEL TO AP 355 N. CENTRAL PROPERTY LLC, THE VIEW ON 4TH, LLC   WILLIAMS & AUGHTRY, P.C.            HOUSTON TX 77002                                        JARROD.MARTIN@CHAMBERLAINLAW.COM   Email
                                                                                                      ATTN: BANKRUPTCY DEPARTMENT
                                                                                                      200 W. WASHINGTON ST.
ENVIRONMENTAL PROTECTION AGENCY                                   CITY OF PHOENIX FIRE PREVENTION     PHOENIX AZ 85003                                                                           First Class Mail
                                                                                                      ATTN: BANKRUPTCY DEPARTMENT
                                                                                                      333 CIVIC CENTER PLAZA
ENVIRONMENTAL PROTECTION AGENCY                                   CITY OF TRACY FIRE PREVENTION       TRACY CA 95376                                                                             First Class Mail
                                                                  CLARK COUNTY DEPARTMENT OF          ATTN: BANKRUPTCY DEPARTMENT
                                                                  ENVIRONMENT AND SUSTAINABILITY,     500 S. GRAND CENTRAL PKWY
ENVIRONMENTAL PROTECTION AGENCY                                   DIVISION OF AIR QUALITY             LAS VEGAS NV 89155                                                                         First Class Mail
                                                                                                      ATTN: ANNE MARIE LANEY HILL
                                                                                                      909 FANNIN
                                                                                                      SUITE 2300
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ELECTRICAL SERVICES, LLC                                          CLARK HILL PLC                      AUSTIN TX 78701                                         DBRESCIA@CLARKHILL.COM             Email
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COUNSEL TO OFFICE OF UNEMPLOYMENT COMPENSATION TAX SERVICES                                           DEPT. OF LABOR AND INDUSTRY, COLLECTIONS SUPPORT UNIT
(UCTS), DEPARTMENT OF LABOR AND INDUSTRY, COMMONWEALTH OF                                             PO BOX 68568
PENNSYLVANIA                                                COMMONWEALTH OF PENNSYLVANIA              HARRISBURG PA 17121-8568                                RA-LI-UCTS-BANKRUPT@STATE.PA.US    Email
                                                                                                      ATTN: BANKRUPTCY DEPARTMENT
                                                                  COMMONWEALTH OF PUERTO RICO         APARTADO 9020192
COMMONWEALTH OF PUERTO RICO ATTORNEY GENERAL                      ATTORNEY GENERAL                    SAN JUAN PR 00902-0192                                                                     First Class Mail
                                                                                                      ATTN: BANKRUPTCY DEPARTMENT
                                                                  DEPARTMENT OF TOXIC SUBSTANCES      1001 I STREET
ENVIRONMENTAL PROTECTION AGENCY                                   CONTROL                             SACRAMENTO CA 95814-2828                                                                   First Class Mail
                                                                                                      ATTN: NICHOLAS ZUGARO
                                                                                                      1717 MAIN STREET, SUITE 4200                            NZUGARO@UMARI-ZUGARO.COM
COUNSEL TO CITY VIEWS PRESERVATION, L.P.                          DYKEMA GOSSETT PLLC                 DALLAS TX 75201                                         NZUGARO@DYKEMA.COM                 Email
                                                                                                      ATTN: BANKRUPTCY DEPARTMENT
                                                                                                      5 POST OFFICE SQUARE
                                                                  ENVIRONMENTAL PROTECTION AGENCY -   SUITE 100
ENVIRONMENTAL PROTECTION AGENCY                                   REGION 1 (CT, MA, ME, NH, RI, VT)   BOSTON MA 02109-3912                                                                       First Class Mail
                                                                                                      ATTN: BANKRUPTCY DEPARTMENT
                                                                                                      1200 SIXTH AVENUE
                                                                  ENVIRONMENTAL PROTECTION AGENCY -   SUITE 900
ENVIRONMENTAL PROTECTION AGENCY                                   REGION 10 (AK, ID, OR, WA)          SEATTLE WA 98101                                                                           First Class Mail
                                                                                                      ATTN: BANKRUPTCY DEPARTMENT
                                                                  ENVIRONMENTAL PROTECTION AGENCY -   290 BROADWAY
ENVIRONMENTAL PROTECTION AGENCY                                   REGION 2 (NJ, NY, PR, VI)           NEW YORK NY 10007-1866                                                                     First Class Mail
                                                                                                      ATTN: BANKRUPTCY DEPARTMENT
                                                                  ENVIRONMENTAL PROTECTION AGENCY -   1650 ARCH STREET
ENVIRONMENTAL PROTECTION AGENCY                                   REGION 3 (DC, DE, MD, PA, VA, WV)   PHILADELPHIA PA 19103-2029                                                                 First Class Mail




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                                                                                                               Exhibit A
                                                                                                            Master Service List
                                                                                                         Served as set forth below

                                   DESCRIPTION                                 NAME                                                ADDRESS                            EMAIL              METHOD OF SERVICE
                                                                                                         ATTN: BANKRUPTCY DEPARTMENT
                                                             ENVIRONMENTAL PROTECTION AGENCY -           ATLANTA FEDERAL CENTER, 61 FORSYTH STREET
ENVIRONMENTAL PROTECTION AGENCY                              REGION 4 (AL, FL, GA, KY, MS, NC, SC, TN)   ATLANTA GA 30303-3104                                                         First Class Mail
                                                                                                         ATTN: BANKRUPTCY DEPARTMENT
                                                             ENVIRONMENTAL PROTECTION AGENCY -           77 WEST JACKSON BOULEVARD
ENVIRONMENTAL PROTECTION AGENCY                              REGION 5 (IL, IN, MI, MN, OH, WI)           CHICAGO IL 60604-3507                                                         First Class Mail
                                                                                                         ATTN: BANKRUPTCY DEPARTMENT
                                                                                                         1445 ROSS AVENUE
                                                             ENVIRONMENTAL PROTECTION AGENCY -           SUITE 1200
ENVIRONMENTAL PROTECTION AGENCY                              REGION 6 (AR, LA, NM, OK, TX)               DALLAS TX 75202-2733                                                          First Class Mail
                                                                                                         ATTN: BANKRUPTCY DEPARTMENT
                                                             ENVIRONMENTAL PROTECTION AGENCY -           11201 RENNER BLVD.
ENVIRONMENTAL PROTECTION AGENCY                              REGION 7 (IA, KS, MO, NE)                   LENEXA KS 66219                                                               First Class Mail
                                                                                                         ATTN: BANKRUPTCY DEPARTMENT
                                                             ENVIRONMENTAL PROTECTION AGENCY -           1595 WYNKOOP ST.
ENVIRONMENTAL PROTECTION AGENCY                              REGION 8 (CO, MT, ND, SD, UT, WY)           DENVER CO 80202-1129                        R8EISC@EPA.GOV                    First Class Mail and Email
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                                                                                                           Exhibit A
                                                                                                        Master Service List
                                                                                                     Served as set forth below

                                   DESCRIPTION                                 NAME                                              ADDRESS                                     EMAIL              METHOD OF SERVICE
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                                                                                                   600 Travis Street, Suite 4200                            TADDAVIDSON@HUNTONAK.COM
COUNSEL TO US REAL ESTATE LIMITED PARTNERSHIP                  HUNTON ANDREWS KURTH LLP            HOUSTON TX 77002                                         ASHLEYHARPER@HUNTONAK.COM         Email




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                                                                                                            Exhibit A
                                                                                                         Master Service List
                                                                                                      Served as set forth below

                                   DESCRIPTION                                 NAME                                              ADDRESS                                         EMAIL                 METHOD OF SERVICE
                                                                                                      ATTN: JOHN J. CRUCIANI
                                                                                                      4801 MAIN STREET, SUITE 1000
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                                                                                                      600 TRAVIS STREET
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CONSTRUCTION COMPANY                                           HUSCH BLACKWELL LLP                    HOUSTON TX 77002                                            TIM.MILLION@HUSCHBLACKWELL.COM     Email
                                                               IAT INSURANCE GROUP, INC / INSURANCE   ATTN: DAVE PIRRUNG, CHIEF FINANCIAL OFFICER
                                                               FIDELITY INSURANCE COMPANY (IFIC) /    1077 NORTHWEST FREEWAY, SUITE 700
TOP 40 UNSECURED CREDITORS                                     HARCO NATIONAL INSURANCE COMPANY       HOUSTON TX 77092-7313                                                                          First Class Mail
                                                                                                      CENTRALIZED INSOLVENCY OPERATION
                                                                                                      2970 MARKET ST.
IRS INSOLVENCY SECTION                                         INTERNAL REVENUE SERVICE               PHILADELPHIA PA 19104-5016                                                                     First Class Mail
                                                                                                      CENTRALIZED INSOLVENCY OPERATION
                                                                                                      P.O.BOX 7346
IRS INSOLVENCY SECTION                                         INTERNAL REVENUE SERVICE               PHILADELPHIA PA 19101-7346                                                                     First Class Mail
                                                                                                      ATTN: MATTHEW D. CAVENAUGH, JENNIFER F. WERTZ, AND J.
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                                                                                                      1401 MCKINNEY STREET, SUITE 1900                            EFREEMAN@JW.COM
PROPOSED CO-COUNSEL TO THE DEBTORS AND DEBTORS IN POSSESSION JACKSON WALKER LLP                       HOUSTON TX 77010                                            MSTULL@JW.COM                      Email
                                                                                                      ATTN: DAN B. PRIETO
COUNSEL TO AG KENT APARTMENTS LLC, AND ISSAQUAH HIGHLANDS                                             2727 NORTH HARWOOD STREET
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                                                                                               Master Service List
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                                  DESCRIPTION                          NAME                                           ADDRESS                  EMAIL               METHOD OF SERVICE
                                                                                            ATTN: BANKRUPTCY DEPARTMENT
                                                                                            INDIANA GOVERNMENT CENTER NORTH
                                                        STATE OF INDIANA DEPARTMENT OF      100 N. SENATE AVE.
ENVIRONMENTAL PROTECTION AGENCY                         ENVIRONMENTAL MANAGEMENT (IDEM) INDIANAPOLIS IN 46204                   KBURNS@IDEM.IN.GOV               First Class Mail and Email
                                                                                            ATTN: BANKRUPTCY DEPARTMENT
                                                                                            1305 E. WALNUT STREET
STATE ATTORNEY GENERAL                                  STATE OF IOWA ATTORNEY GENERAL      DES MOINES IA 50319                 WEBTEAM@AG.IOWA.GOV              First Class Mail and Email
                                                                                            ATTN: BANKRUPTCY DEPARTMENT
                                                        STATE OF IOWA DEPARTMENT OF NATURAL WALLACE STATE OFFICE BUILDING
                                                        RESOURCES, ENVIRONMENTAL            502 E. 9TH ST., 4TH FLOOR
ENVIRONMENTAL PROTECTION AGENCY                         PROTECTION COMMISSION               DE MOINES IA 50319                                                   First Class Mail
                                                                                            ATTN: BANKRUPTCY DEPARTMENT
                                                                                            120 SW 10TH AVE. 2ND FLOOR
STATE ATTORNEY GENERAL                                  STATE OF KANSAS ATTORNEY GENERAL    TOPEKA KS 66612-1597                                                 First Class Mail
                                                                                            ATTN: BANKRUPTCY DEPARTMENT
                                                                                            CURTIS STATE OFFICE BUILDING
                                                        STATE OF KANSAS DEPARTMENT OF       1000 SW JACKSON
ENVIRONMENTAL PROTECTION AGENCY                         HEALTH AND ENVIRONMENT              TOPEKA KS 66612                                                      First Class Mail
                                                                                            ATTN: BANKRUPTCY DEPARTMENT
                                                                                            700 CAPITOL AVENUE SUITE 118
STATE ATTORNEY GENERAL                                  STATE OF KENTUCKY ATTORNEY GENERAL FRANKFORT KY 40601                                                    First Class Mail
                                                                                            ATTN: BANKRUPTCY DEPARTMENT
                                                        STATE OF KENTUCKY DEPARTMENT FOR    300 SOWER BLVD.
ENVIRONMENTAL PROTECTION AGENCY                         ENVIRONMENTAL PROTECTION            FRANKFORT KY 40601                                                   First Class Mail
                                                                                            ATTN: BANKRUPTCY DEPARTMENT
                                                                                            P.O. BOX 94095
STATE ATTORNEY GENERAL                                  STATE OF LOUISIANA ATTORNEY GENERAL BATON ROUGE LA 70804-4095                                            First Class Mail
                                                                                            ATTN: BANKRUPTCY DEPARTMENT
                                                        STATE OF LOUISIANA DEPARTMENT OF    602 N. FIFTH STREET
ENVIRONMENTAL PROTECTION AGENCY                         ENVIRONMENTAL QUALITY (DEQ)         BATON ROUGE LA 70802                                                 First Class Mail
                                                                                            ATTN: BANKRUPTCY DEPARTMENT
                                                                                            6 STATE HOUSE STATION
STATE ATTORNEY GENERAL                                  STATE OF MAINE ATTORNEY GENERAL     AUGUSTA ME 04333                    AGCONSUMER.MEDIATION@MAINE.GOV   First Class Mail and Email
                                                                                            ATTN: BANKRUPTCY DEPARTMENT
                                                                                            17 STATE HOUSE STATION
                                                        STATE OF MAINE DEPARTMENT OF        28 TYSON DRIVE
ENVIRONMENTAL PROTECTION AGENCY                         ENVIRONMENTAL PROTECTION            AUGUSTA ME 04333-0017                                                First Class Mail
                                                                                            ATTN: BANKRUPTCY DEPARTMENT
                                                                                            200 ST. PAUL PLACE
STATE ATTORNEY GENERAL                                  STATE OF MARYLAND ATTORNEY GENERAL BALTIMORE MD 21202-2202                                               First Class Mail
                                                                                            ATTN: BANKRUPTCY DEPARTMENT
                                                        STATE OF MARYLAND DEPARTMENT OF     1800 WASHINGTON BLVD
ENVIRONMENTAL PROTECTION AGENCY                         THE ENVIRONMENT (MDE)               BALTIMORE MD 21230                                                   First Class Mail
                                                                                            ATTN: BANKRUPTCY DEPARTMENT
                                                        STATE OF MASSACHUSETTS ATTORNEY     ONE ASHBURTON PLACE
STATE ATTORNEY GENERAL                                  GENERAL                             BOSTON MA 02108-1698                AGO@STATE.MA.US                  First Class Mail and Email
                                                                                            ATTN: BANKRUPTCY DEPARTMENT
                                                        STATE OF MASSACHUSETTS DEPARTMENT 1 WINTER ST.
ENVIRONMENTAL PROTECTION AGENCY                         OF ENVIRONMENTAL PROTECTION         BOSTON MA 02108                                                      First Class Mail




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                                  DESCRIPTION                           NAME                                             ADDRESS                        EMAIL      METHOD OF SERVICE
                                                                                              ATTN: BANKRUPTCY DEPARTMENT
                                                                                              G. MENNEN WILLIAMS BUILDING, 7TH FLOOR
                                                                                              525 W. OTTAWA ST., P.O. BOX 30212
STATE ATTORNEY GENERAL                                  STATE OF MICHIGAN ATTORNEY GENERAL LANSING MI 48909-0212                                                 First Class Mail
                                                                                              ATTN: BANKRUPTCY DEPARTMENT
                                                                                              525 WEST ALLEGAN STREET
                                                        STATE OF MICHIGAN DEPARTMENT OF       P.O. BOX 30473
ENVIRONMENTAL PROTECTION AGENCY                         ENVIRONMENTAL QUALITY (DEQ)           LANSING MI 48909-7973                                              First Class Mail
                                                                                              ATTN: BANKRUPTCY DEPARTMENT
                                                                                              1400 BREMER TOWER
                                                                                              445 MINNESOTA STREET
STATE ATTORNEY GENERAL                                  STATE OF MINNESOTA ATTORNEY GENERAL ST. PAUL MN 55101-2131                                               First Class Mail
                                                                                              ATTN: BANKRUPTCY DEPARTMENT
                                                                                              7678 COLLEGE ROAD
                                                        STATE OF MINNESOTA POLLUTION          SUITE 105
ENVIRONMENTAL PROTECTION AGENCY                         CONTROL AGENCY (PCA)                  BAXTER MN 56425                                                    First Class Mail
                                                                                              ATTN: BANKRUPTCY DEPARTMENT
                                                                                              WALTER SILLERS BUILDING
                                                                                              550 HIGH STREET, SUITE 1200, P.O. BOX 220
STATE ATTORNEY GENERAL                                  STATE OF MISSISSIPPI ATTORNEY GENERAL JACKSON MS 39201                                                   First Class Mail
                                                                                              ATTN: BANKRUPTCY DEPARTMENT
                                                        STATE OF MISSISSIPPI DEPARTMENT OF    P.O. BOX 2261
ENVIRONMENTAL PROTECTION AGENCY                         ENVIRONMENTAL QUALITY (DEQ)           JACKSON MS 39225                                                   First Class Mail
                                                                                              ATTN: BANKRUPTCY DEPARTMENT
                                                                                              SUPREME COURT BUILDING
                                                                                              207 W. HIGH ST.
STATE ATTORNEY GENERAL                                  STATE OF MISSOURI ATTORNEY GENERAL JEFFERSON CITY MO 65102                                               First Class Mail
                                                                                              ATTN: BANKRUPTCY DEPARTMENT
                                                        STATE OF MISSOURI DEPARTMENT OF       P.O. BOX 176
ENVIRONMENTAL PROTECTION AGENCY                         NATURAL RESOURCES (DNR)               JEFFERSON CITY MO 65102                     ENVIROLAB@DNR.MO.GOV   First Class Mail and Email
                                                                                              ATTN: BANKRUPTCY DEPARTMENT
                                                                                              215 N SANDERS, THIRD FLOOR
                                                                                              P.O. BOX 201401
STATE ATTORNEY GENERAL                                  STATE OF MONTANA ATTORNEY GENERAL HELENA MT 59620-1401                            CONTACTDOJ@MT.GOV      First Class Mail and Email
                                                                                              ATTN: BANKRUPTCY DEPARTMENT
                                                                                              1520 E SIXTH AVENUE
                                                        STATE OF MONTANA DEPARTMENT OF        P.O. BOX 200901
ENVIRONMENTAL PROTECTION AGENCY                         ENVIRONMENTAL QUALITY (DEQ)           HELENA MT 59620-0901                                               First Class Mail
                                                                                              ATTN: BANKRUPTCY DEPARTMENT
                                                        STATE OF N.C. DEPARTMENT OF           1601 MAIL SERVICE CENTER
ENVIRONMENTAL PROTECTION AGENCY                         ENVIRONMENT AND NATURAL RESOURCES RALEIGH NC 27699-1601                                                  First Class Mail
                                                                                              ATTN: BANKRUPTCY DEPARTMENT
                                                                                              2115 STATE CAPITOL
                                                                                              2ND FL, RM 2115
STATE ATTORNEY GENERAL                                  STATE OF NEBRASKA ATTORNEY GENERAL LINCOLN NE 68509-8920                                                 First Class Mail
                                                                                              ATTN: BANKRUPTCY DEPARTMENT
                                                                                              1200 "N" STREET, SUITE 400
                                                        STATE OF NEBRASKA DEPARTMENT OF       P.O. BOX 98922
ENVIRONMENTAL PROTECTION AGENCY                         ENVIRONMENTAL QUALITY (NDEQ)          LINCOLN NE 68509                                                   First Class Mail




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                                  DESCRIPTION                          NAME                                             ADDRESS                  EMAIL           METHOD OF SERVICE
                                                                                             ATTN: BANKRUPTCY DEPARTMENT
                                                                                             100 NORTH CARSON STREET
STATE ATTORNEY GENERAL                                  STATE OF NEVADA ATTORNEY GENERAL     CARSON CITY NV 89701                 AGINFO@AG.NV.GOV             First Class Mail and Email
                                                                                             ATTN: BANKRUPTCY DEPARTMENT
                                                        STATE OF NEVADA DIVISION OF          375 E. WARM SPRINGS RD. SUITE 200
ENVIRONMENTAL PROTECTION AGENCY                         ENVIRONMENTAL PROTECTION             LAS VEGAS NV 89119                                                First Class Mail
                                                                                             ATTN: BANKRUPTCY DEPARTMENT
                                                        STATE OF NEVADA DIVISION OF          901 S. STEWART ST. SUITE 4001
ENVIRONMENTAL PROTECTION AGENCY                         ENVIRONMENTAL PROTECTION             CARSON CITY NV 89701                                              First Class Mail
                                                                                             ATTN: BANKRUPTCY DEPARTMENT
                                                        STATE OF NEW HAMPSHIRE ATTORNEY      33 CAPITOL ST.
STATE ATTORNEY GENERAL                                  GENERAL                              CONCORD NH 03301                     ATTORNEYGENERAL@DOJ.NH.GOV   First Class Mail and Email
                                                                                             ATTN: BANKRUPTCY DEPARTMENT
                                                        STATE OF NEW HAMPSHIRE DEPARTMENT 29 HAZEN DRIVE
ENVIRONMENTAL PROTECTION AGENCY                         OF ENVIRONMENTAL SERVICES            CONCORD NH 03302-0095                                             First Class Mail
                                                                                             ATTN: BANKRUPTCY DEPARTMENT
                                                                                             RJ HUGHES JUSTICE COMPLEX
                                                                                             25 MARKET STREET, P.O. BOX 080
STATE ATTORNEY GENERAL                                  STATE OF NEW JERSEY ATTORNEY GENERAL TRENTON NJ 08625-0080                                             First Class Mail
                                                                                             ATTN: BANKRUPTCY DEPARTMENT
                                                        STATE OF NEW JERSEY DEPARTMENT OF    P.O. BOX 402
ENVIRONMENTAL PROTECTION AGENCY                         ENVIRONMENTAL PROTECTION             TRENTON NJ 08625-0402                                             First Class Mail
                                                                                             ATTN: BANKRUPTCY DEPARTMENT
                                                        STATE OF NEW MEXICO ATTORNEY         P.O. DRAWER 1508
STATE ATTORNEY GENERAL                                  GENERAL                              SANTA FE NM 87504-1508                                            First Class Mail
                                                                                             ATTN: BANKRUPTCY DEPARTMENT
                                                        STATE OF NEW MEXICO ENVIRONMENT      P.O. BOX 5469
ENVIRONMENTAL PROTECTION AGENCY                         DEPARTMENT                           SANTA FE NM 87502-5469                                            First Class Mail
                                                                                             ATTN: BANKRUPTCY DEPARTMENT
                                                                                             THE CAPITOL
STATE ATTORNEY GENERAL                                  STATE OF NEW YORK ATTORNEY GENERAL ALBANY NY 12224-0341                                                First Class Mail
                                                                                             ATTN: BANKRUPTCY DEPARTMENT
                                                        STATE OF NEW YORK DEPARTMENT OF      625 BROADWAY
ENVIRONMENTAL PROTECTION AGENCY                         ENVIRONMENTAL CONSERVATION           ALBANY NY 12233                      DPAEWEB@GW.DEC.STATE.NY.US   First Class Mail and Email
                                                                                             ATTN: BANKRUPTCY DEPARTMENT
                                                        STATE OF NORTH CAROLINA ATTORNEY     9001 MAIL SERVICE CENTER
STATE ATTORNEY GENERAL                                  GENERAL                              RALEIGH NC 27699-9001                                             First Class Mail
                                                                                             ATTN: BANKRUPTCY DEPARTMENT
                                                                                             STATE CAPITOL
                                                        STATE OF NORTH DAKOTA ATTORNEY       600 E BOULEVARD AVE DEPT 125
STATE ATTORNEY GENERAL                                  GENERAL                              BISMARCK ND 58505-0040                                            First Class Mail
                                                                                             ATTN: BANKRUPTCY DEPARTMENT
                                                        STATE OF NORTH DAKOTA DEPARTMENT     918 E. DIVIDE AVE.
ENVIRONMENTAL PROTECTION AGENCY                         OF ENVIRONMENTAL QUALITY (DEQ)       BISMARCK ND 58501                    DEQ@ND.GOV                   First Class Mail and Email
                                                                                             ATTN: BANKRUPTCY DEPARTMENT
                                                                                             30 E. BROAD ST., 14TH FLOOR
STATE ATTORNEY GENERAL                                  STATE OF OHIO ATTORNEY GENERAL       COLUMBUS OH 43215                                                 First Class Mail
                                                                                             ATTN: BANKRUPTCY DEPARTMENT
                                                        STATE OF OHIO ENVIROMENTAL           P.O. BOX 1049
ENVIRONMENTAL PROTECTION AGENCY                         PROTECTION AGENCY                    COLUMBUS OH 43216-1049                                            First Class Mail




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                                  DESCRIPTION                          NAME                                            ADDRESS                      EMAIL                  METHOD OF SERVICE
                                                                                              ATTN: BANKRUPTCY DEPARTMENT
                                                                                              313 NE 21ST STREET
STATE ATTORNEY GENERAL                                  STATE OF OKLAHOMA ATTORNEY GENERAL    OKLAHOMA CITY OK 73105                                                     First Class Mail
                                                                                              ATTN: BANKRUPTCY DEPARTMENT
                                                        STATE OF OKLAHOMA DEPARTMENT OF       707 N ROBINSON
ENVIRONMENTAL PROTECTION AGENCY                         ENVIRONMENTAL QUALITY                 OKLAHOMA CITY OK 73102                                                     First Class Mail
                                                                                              ATTN: BANKRUPTCY DEPARTMENT
                                                                                              1162 COURT STREET NE
STATE ATTORNEY GENERAL                                  STATE OF OREGON ATTORNEY GENERAL      SALEM OR 97301                        CONSUMER.HOTLINE@DOJ.STATE.OR.US     First Class Mail and Email
                                                                                              ATTN: BANKRUPTCY DEPARTMENT
                                                                                              700 NE MULTNOMAH STREET
                                                        STATE OF OREGON DEPARMENT OF          SUITE 600
ENVIRONMENTAL PROTECTION AGENCY                         ENVIRONMENTAL QUALITY                 PORTLAND OR 97232-1400                                                     First Class Mail
                                                                                              ATTN: BANKRUPTCY DEPARTMENT
                                                                                              STRAWBERRY SQUARE
                                                        STATE OF PENNSYLVANIA ATTORNEY        16TH FLOOR
STATE ATTORNEY GENERAL                                  GENERAL                               HARRISBURG PA 17120                                                        First Class Mail
                                                                                              ATTN: BANKRUPTCY DEPARTMENT
                                                                                              RACHEL CARSON STATE OFFICE BUILDING
                                                        STATE OF PENNSYLVANIA DEPT OF         400 MARKET STREET
ENVIRONMENTAL PROTECTION AGENCY                         ENVIRONMENTAL PROTECTION              HARRISBURG PA 17101                                                        First Class Mail
                                                                                              ATTN: BANKRUPTCY DEPARTMENT
                                                        STATE OF RHODE ISLAND ATTORNEY        150 SOUTH MAIN STREET
STATE ATTORNEY GENERAL                                  GENERAL                               PROVIDENCE RI 02903                                                        First Class Mail
                                                                                              ATTN: BANKRUPTCY DEPARTMENT
                                                        STATE OF RHODE ISLAND DEPARMENT OF    235 PROMENADE STREET
ENVIRONMENTAL PROTECTION AGENCY                         ENVIRONMENTAL MANAGEMENT              PROVIDENCE RI 02908                                                        First Class Mail
                                                                                              ATTN: BANKRUPTCY DEPARTMENT
                                                        STATE OF SOUTH CAROLINA ATTORNEY      P.O. BOX 11549
STATE ATTORNEY GENERAL                                  GENERAL                               COLUMBIA SC 29211-1549                                                     First Class Mail
                                                        STATE OF SOUTH CAROLINA DEPARTMENT    ATTN: BANKRUPTCY DEPARTMENT
                                                        OF HEALTH AND ENVIRONMENTAL           2600 BULL STREET
ENVIRONMENTAL PROTECTION AGENCY                         CONTROL                               COLUMBIA SC 29201                                                          First Class Mail
                                                                                              ATTN: BANKRUPTCY DEPARTMENT
                                                                                              1302 EAST HIGHWAY 14
                                                        STATE OF SOUTH DAKOTA ATTORNEY        SUITE 1
STATE ATTORNEY GENERAL                                  GENERAL                               PIERRE SD 57501-8501                  CONSUMERHELP@STATE.SD.US             First Class Mail and Email
                                                        STATE OF SOUTH DAKOTA DEPARTMENT OF   ATTN: BANKRUPTCY DEPARTMENT
                                                        ENVIRONMENT AND NATURAL RESOURCES     523 E. CAPITOL
ENVIRONMENTAL PROTECTION AGENCY                         (DENR)                                PIERRE SD 57501                                                            First Class Mail
                                                                                              ATTN: BANKRUPTCY DEPARTMENT
                                                                                              P.O. BOX 20207
STATE ATTORNEY GENERAL                                  STATE OF TENNESSEE ATTORNEY GENERAL   NASHVILLE TN 37202-0207                                                    First Class Mail
                                                                                              ATTN: ROBERT J. MARTINEAU, JR.
                                                                                              312 ROSA L PARKS AVE
                                                        STATE OF TENNESSEE DEPARTMENT OF      TENNESSEE TOWER, 2ND FLOOR
ENVIRONMENTAL PROTECTION AGENCY                         ENVIRONMENTAL & CONSERVATION          NASHVILLE TN 37243                                                         First Class Mail
                                                                                              ATTN: BANKRUPTCY DEPARTMENT
                                                                                              CAPITOL STATION
                                                                                              P.O. BOX 12548
STATE OF TEXAS ATTORNEY GENERAL                         STATE OF TEXAS ATTORNEY GENERAL       AUSTIN TX 78711-2548                  PUBLIC.INFORMATION@OAG.STATE.TX.US   First Class Mail and Email



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                                  DESCRIPTION                          NAME                                            ADDRESS                           EMAIL     METHOD OF SERVICE
                                                                                            ATTN: BANKRUPTCY DEPARTMENT
                                                                                            BUILDING LETTER
                                                        STATE OF TEXAS COMMISSION ON        P.O. BOX 13087
TEXAS ENVIRONMENTAL PROTECTION AGENCY                   ENVIRONMENTAL QUALITY               AUSTIN TX 78711-3087                          AC@TCEQ.TEXAS.GOV      First Class Mail and Email
                                                                                            ATTN: BANKRUPTCY DEPARTMENT
                                                                                            P.O. BOX 142320
STATE ATTORNEY GENERAL                                  STATE OF UTAH ATTORNEY GENERAL      SALT LAKE CITY UT 84114-2320                                         First Class Mail
                                                                                            ATTN: BANKRUPTCY DEPARTMENT
                                                        STATE OF UTAH DEPARTMENT OF         195 NORTH 1950 WEST
ENVIRONMENTAL PROTECTION AGENCY                         ENVIRONMENTAL QUALITY               SALT LAKE CITY UT 84116                                              First Class Mail
                                                                                            ATTN: BANKRUPTCY DEPARTMENT
                                                                                            109 STATE ST.
STATE ATTORNEY GENERAL                                  STATE OF VERMONT ATTORNEY GENERAL MONTPELIER VT 05609-1001                        AGO.INFO@VERMONT.GOV   First Class Mail and Email
                                                                                            ATTN: BANKRUPTCY DEPARTMENT
                                                                                            DAVIS BUILDING-3RD FLOOR
                                                        STATE OF VERMONT DEPARTMENT OF      ONE NATIONAL LIFE DRIVE
ENVIRONMENTAL PROTECTION AGENCY                         ENVIRONMENTAL CONSERVATION (DEC)    MONTPELIER VT 05620-3520                                             First Class Mail
                                                                                            ATTN: BANKRUPTCY DEPARTMENT
                                                                                            900 EAST MAIN STREET
STATE ATTORNEY GENERAL                                  STATE OF VIRGINIA ATTORNEY GENERAL  RICHMOND VA 23219                                                    First Class Mail
                                                                                            ATTN: BANKRUPTCY DEPARTMENT
                                                                                            629 EAST MAIN STREET
                                                        STATE OF VIRGINIA DEPARTMENT        P.O. BOX 1105
ENVIRONMENTAL PROTECTION AGENCY                         ENVIRONMENT QUALITY                 RICHMOND VA 23218                                                    First Class Mail
                                                                                            ATTN: BANKRUPTCY DEPARTMENT
                                                                                            1125 WASHINGTON ST. SE
                                                        STATE OF WASHINGTON ATTORNEY        P.O. BOX 40100
STATE ATTORNEY GENERAL                                  GENERAL                             OLYMPIA WA 98504-0100                                                First Class Mail
                                                                                            ATTN: BANKRUPTCY DEPARTMENT
                                                        STATE OF WASHINGTON STATE           300 DESMOND DRIVE SE
ENVIRONMENTAL PROTECTION AGENCY                         DEPARTMENT OF ECOLOGY (ECOLOGY)     LACEY WA 98503                                                       First Class Mail
                                                                                            ATTN: BANKRUPTCY DEPARTMENT
                                                        STATE OF WEST VIRGINIA ATTORNEY     STATE CAPITOL BLDG 1 ROOM E 26
STATE ATTORNEY GENERAL                                  GENERAL                             CHARLESTON WV 25305                                                  First Class Mail
                                                                                            ATTN: BANKRUPTCY DEPARTMENT
                                                                                            WISCONSIN DEPARTMENT OF JUSTICE
                                                                                            STATE CAPITOL, ROOM 114 EAST, P.O. BOX 7857
STATE ATTORNEY GENERAL                                  STATE OF WISCONSIN ATTORNEY GENERAL MADISON WI 53707-7857                                                First Class Mail
                                                                                            ATTN: BANKRUPTCY DEPARTMENT
                                                        STATE OF WISCONSIN DEPT. OF NATURAL P.O. BOX 7921
ENVIRONMENTAL PROTECTION AGENCY                         RESOURCES                           MADISON WI 53707-7921                                                First Class Mail
                                                                                            ATTN: MELINDA S. CAMBELL, CHIEF
                                                        STATE OF WV DEPARTMENT OF           601 57TH STREET, SE
ENVIRONMENTAL PROTECTION AGENCY                         ENVIROMENTAL PROTECTION             CHARLESTON WV 25304                                                  First Class Mail
                                                                                            ATTN: BANKRUPTCY DEPARTMENT
                                                                                            123 CAPITOL BUILDING
                                                                                            200 W. 24TH STREET
STATE ATTORNEY GENERAL                                  STATE OF WYOMING ATTORNEY GENERAL CHEYENNE WY 82002                                                      First Class Mail




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                                  DESCRIPTION                                  NAME                                              ADDRESS                            EMAIL            METHOD OF SERVICE
                                                                                                      ATTN: BANKRUPTCY DEPARTMENT
                                                                                                      122 W 25TH ST
                                                                 STATE OF WYOMING DEPARTMENT OF       HERSCHLER BUILDING
ENVIRONMENTAL PROTECTION AGENCY                                  ENVIRONMENTAL QUALITY (DEQ)          CHEYENNE WY 82002                           KEITH.GUILLE@WYO.GOV             First Class Mail and Email
                                                                                                      ATTN: ROBERT E. FARQUHARSON
                                                                                                      3102 OAK LAWN AVENUE, SUITE 777
COUNSEL TO FARNAM STREET FINANCIAL, INC.                         STINSON LLP                          DALLAS TX 75219-4259                        ROBERT.FARQUHARSON@STINSON.COM   Email
                                                                                                      ATTN: BRYAN T. GLOVER
COUNSEL TO HAMPTON LUMBER MILLS, INC. AND HAMPTON TREE                                                600 UNIVERSITY STREET, SUITE 3600
FARMS, LLC                                                       STOEL RIVES LLP                      SEATTLE WA 98101                            BRYAN.GLOVER@STOEL.COM           Email
                                                                                                      ATTN: OREN BUCHANAN HACKER
COUNSEL TO HAMPTON LUMBER MILLS, INC. AND HAMPTON TREE                                                760 SW NINTH, SUITE 300
FARMS, LLC                                                       STOEL RIVES LLP                      PORTLAND OR 97205                           OREN.HAKER@STOEL.COM             Email
                                                                                                      ATTN: MARK STROMBERG
                                                                                                      8350 N CENTRAL EXPWY., SUITE 1225
COUNSEL TO AMEX TRS CO. INC.                                     STROMBERG STOCK, PLLC                DALLAS TX 75206                             MARK@STROMBERGSTOCK.COM          Email
                                                                                                      ATTN: CHRISTOPHER R. KRAUP, DAVID BARLOW
                                                                                                      SEVENTH FLOOR CAMELBACK ESPLANADE II
                                                                                                      2525 E CAMELBACK ROAD                       CRK@TBLAW.COM
COUNSEL TO VASEO APARTMENTS, LP                                  TIFFANY & BOSCO P.A.                 PHOENIX AZ 85016                            DMB@TBLAW.COM                    Email
                                                                                                      ATTN: COURTNEY J. HULL, SHERRI K. SIMPSON
                                                                                                      P.O. BOX 12548                              BK-CHULL@OAG.TEXAS.GOV
COUNSEL TO THE TEXAS COMPTROLLER OF PUBLIC ACCOUNTS              TX ATTORNEY GENERAL'S OFFICE         AUSTIN TX 78711-2548                        SHERRI.SIMPSON@OAG.TEXAS.GOV     Email
                                                                                                      ATTN: BANKRUPTCY DEPARTMENT
                                                                                                      200 CONSTITUTION AVENUE, NW
U.S. DEPARTMENT OF LABOR                                         U.S. DEPARTMENT OF LABOR             WASHINGTON DC 20210                                                          First Class Mail
                                                                                                      ATTN: BANKRUPTCY DEPARTMENT
U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION -                   U.S. EQUAL EMPLOYMENT OPPORTUNITY 131 M. STREET, NE
HEADQUARTERS                                                     COMMISSION (EEOC)                    WASHINGTON DC 20507                                                          First Class Mail
                                                                                                      ATTN: BANKRUPTCY DEPARTMENT
                                                                                                      US DEPT OF JUSTICE
                                                                 UNITED STATES OF AMERICA ATTORNEY    950 PENNSYLVANIA AVE NW
UNITED STATES OF AMERICA ATTORNEY GENERAL                        GENERAL                              WASHINGTON DC 20530-0001                                                     First Class Mail
                                                                                                      ATTN: RYAN K. PATRICK
                                                                                                      ONE SHORELINE PLAZA SOUTH TOWER
                                                                 US ATTORNEY FOR SOUTHERN DISTRICT OF 800 N SHORELINE BLVD STE. 500
UNITED STATES ATTORNEY FOR THE SOUTHERN DISTRICT OF TEXAS        TEXAS                                CORPUS CHRISTI TX 78401                                                      First Class Mail
                                                                                                      ATTN: MELISSA S. GIBERSON
                                                                                                      52 E. GAY ST.
                                                                                                      P.O. BOX 1008
COUNSEL TO THE SHERWIN-WILLIAMS COMPANY                          VORYS, SATER, SEYMOUR AND PEASE LLP COLUMBUS OH 43216-1008                       MSGIBERSON@VORYS.COM             Email
                                                                                                      ATTN: STEVEN R. RECH, ESQ.
                                                                                                      909 FANNIN STREET, SUITE 2700
COUNSEL TO THE SHERWIN-WILLIAMS COMPANY                          VORYS, SATER, SEYMOUR AND PEASE LLP HOUSTON TX 77010                             srech@vorys.com                  Email
                                                                                                      ATTN: BANKRUPTCY DEPARTMENT
                                                                                                      441 4TH STREET NW
WASHINGTON DC ATTORNEY GENERAL                                   WASHINGTON DC ATTORNEY GENERAL       WASHINGTON DC 20001                         OAG@DC.GOV                       First Class Mail and Email
                                                                                                      ATTN: ALFREDO R. PEREZ
COUNSEL TO SB INVESTMENT ADVISERS (UK) LIMITED, SVF ABODE                                             700 LOUISIANA STREET
(CAYMAN) LIMITED, SVF II ABODE (CAYMAN) LIMITED, AND SVF HABITAT                                      SUITE 1700
(CAYMAN) LIMITED                                                 WEIL, GOTSHAL & MANGES LLP           HOUSTON TX 77002                            ALFREDO.PEREZ@WEIL.COM           Email



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                                                                                                Served as set forth below

                                   DESCRIPTION                                   NAME                                     ADDRESS                                            EMAIL        METHOD OF SERVICE
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                               Exhibit B
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                                                                                                                       Fee Application Service List
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